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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

NATALIE WILLINGHAM,     §
Plaintiff               §
                        §                    CIVIL ACTION NO. ________
vs.                     §
                        §
REGENT ASSET MANAGEMENT §
SOLUTIONS, INC.,        §
Defendant               §


                                  COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COMES NOW Natalie Willingham, hereinafter referred to as Plaintiff

complaining against Regent Asset Management Solutions, Inc. hereinafter referred

to as Defendant and for cause of action would respectfully show unto the Court as

follows:

              NATURE OF THE ACTION AND JURISDICTION

1.    This is an action for damages brought by an individual Plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices. Plaintiff seeks to recover
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monetary damages for Defendant’s violation of the FDCPA, the TDCPA and the

DTPA and to have an Order or injunction issued by this Court preventing

Defendant from continuing its behavior in violation of the FDCPA. Jurisdiction of

this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337 and venue is

proper before this Court as Plaintiff and/or Defendant reside in this District and/or

the complained of actions occurred in this District. Service may be made upon

Defendant in any other district in which it may be found pursuant to 29 U.S.C.

§1132(e)(2).

2.    Plaintiff, Natalie Willingham, is a natural person and a “consumer” as

defined by 15 U.S.C. §1692(a)(3), the Texas Deceptive Trade Practices Act

§17.45(4) and Texas Finance Code §392.001(1).

3.    Defendant, Regent Asset Management Solutions, Inc., is a domestic

corporation engaged in the business of collecting debts by use of the mails and

telephone, and Defendant regularly attempts to collect debts alleged to be due

another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6) trying to collect a “debt” as defined by 15 U.S.C. §1692(a)(5) and Texas

Finance Code §392.001(2).

                               FIRST COUNT
                             FDCPA VIOLATIONS

4.    At various and multiple times prior to the filing of the instant complaint,

including within the one year preceding the filing of this Complaint, Defendant
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contacted Plaintiff in an attempt to collect an alleged outstanding debt. Defendant’s

conduct violated the FDCPA in multiple ways, including but not limited to:

     a) Overshadowing the disclosures required by 15 USC § 1692g(a) during the

        thirty-day dispute period, including threatening litigation for a judgment and

        enforcement plan in the same letter that included the 30-day dispute notice,

        thereby overshadowing the latter notice (§ 1692g(b));

     b) Falsely representing the character, amount, or legal status of Plaintiffs debt,

        including stating that Plaintiff owes a debt she does not owe (§

        1692e(2)(A));

     c) After   having    received   a   written   communication     from    Plaintiffs

        representative disputing the debt, continuing to take collection actions

        against Plaintiff through an attorney without having first having provided

        validation of the debt (§ 1692g(b)).

5.      As a result of the above violations of the FDCPA, Plaintiff suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and

emotional distress, and Defendant is liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.

6.      Defendant’s aforementioned statutory violations also constitute an invasion

of Plaintiff’s right to privacy, causing additional injury to Plaintiff’s feelings,

mental anguish and distress.
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7.     As a result of the above statutory violations and invasion of privacy, Plaintiff

suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental anguish and emotional distress, and Defendant is liable to

Plaintiff for Plaintiff’s actual damages, exemplary damages, statutory damages,

and costs and attorney’s fees.

                         SECOND COUNT
     VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

8.     Plaintiff reincorporates by reference herein all prior paragraphs above.

9.     This suit is brought, in part, under the authority of Tex. Bus. & Com. Code §

17.41 et seq., commonly known as the Deceptive Trade Practices and Plaintiffs

Protection Act and cited in this petition as the “DTPA”.

10.      Defendant was given notice in writing of the claims made in this Petition

more than sixty days before this suit was filed in the manner and form required by

DTPA §17.505 (a).

11.       Defendant made numerous material misrepresentations in an attempt to

collect the purported debt as detailed above.

12.    Defendant knew or should have known that its representations were false

and/or acted in reckless disregard for the truth or falsity of its representations.

13.    Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.

14.    Defendant’s actions as detailed above constitute a violation of the Texas
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Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

15.         The conduct described above has been and is a producing and proximate

cause of damages to Plaintiff.           Plaintiff’s damages include: Actual/economic

damages, emotional and/or mental anguish damages, exemplary/punitive damages,

and Plaintiff’s attorneys’ fees and costs.

16.         Additionally, Plaintiff seeks an award of discretionary additional damages in

an amount not to exceed three times the amount of economic damages if

Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendant’s conduct is found to have been committed intentionally.

17.         Plaintiff seeks reasonable and necessary attorney’s fees in this case through

the time judgment is entered and for any post-trial or post-judgment appeals, to be

detailed through a statement of services submitted at the appropriate time.

            WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that

Defendant be cited to appear and answer herein and upon final hearing hereof,

Plaintiff have judgment of and against Defendant as follows:

      (a)      a declaratory judgment be entered that Defendant’s conduct violated the

               FDCPA;

      (b)      an award of actual damages;

      (c)      an award of statutory damages pursuant to 15 U.S.C. § 1692k;
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(d)   an award of costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

      1692k; and,

(e)   a declaratory judgment be entered that Defendant’s conduct violated the

      Texas deceptive Trade Practices Act;

(f)   an award for all actual damages, exemplary damages, emotional/mental

      anguish damages, all attorneys fees, costs of court, and pre-judgment and

      post-judgment interest at the highest lawful rates.

(g)   seeks an award of discretionary additional damages in an amount not to

      exceed three times the amount of economic damages if Defendant’s

      conduct is found to have been committed knowingly; or an amount not to

      exceed three times the amount of economic and mental anguish damages

      if Defendant’s conduct is found to have been committed intentionally.

(h)   such other and further relief as may be just and proper.
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                                             Respectfully submitted,


                                             By: /s/Susan Landgraf
                                             Susan Landgraf
                                             S.D. Bar # 15824
                                             Texas State Bar # 00784702
                                             Attorney in Charge for Plaintiffs

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                         CERTIFICATE OF SERVICE


I certify that on August 26, 2009, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Southern District of Texas, Houston
Division, using the electronic case filing system of the court.


                                                          /s/ Susan A. Landgraf___
                                                           SUSAN A. LANDGRAF
